Case 8:20-cv-00048-JVS-JDE Document 744-30 Filed 05/25/22 Page 1 of 4 Page ID
                                 #:52125




                  EXHIBIT 28
  Case 8:20-cv-00048-JVS-JDE Document 744-30 Filed 05/25/22 Page 2 of 4 Page ID
                                   #:52126



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                                                                                                       Adam Powell
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January 13, 2022

VIA EMAIL

Nora Passamaneck
WilmerHale
1225 Seventeenth St., Suite 2600
Denver, CO 80202
nora.passamaneck@wilmerhale.com

Re:    Masimo Corp. and Cercacor Laboratories, Inc. v. Apple Inc.
Dear Nora:
       We write to request a meet and confer regarding a potential motion to modify the Protective
Order to allow certain material from this case to be used in In re Certain Light-Based Physiological
Measurement Devices and Components Thereof, ITC Inv. No. 337-TA-1276 (the “ITC Case”).
       At the November 18 hearing, Judge Early encouraged Masimo to seek a narrower request that
sought cross-use of only certain discovery. Judge Early explained that Masimo could make that request
by excluding documents or identifying documents for inclusion. Judge Early also explained that
Masimo could identify specific documents or “categories” of documents for inclusion or exclusion.
During the hearing, Apple represented that it had already produced 64,000 pages of overlapping
discovery in both cases.
        To facilitate these discussions, on November 24, Masimo requested that Apple provide an
overlay identifying the 64,000 overlapping pages of discovery. Apple did so on December 23. Thus,
we identify categories of documents below that we request Apple agree Masimo can use in the ITC Case
as if they had been produced there. Masimo is excluding source code from its current request, but
reserves the right to request source code after inspecting Apple’s source code produced in the ITC Case.
       1.     Documents regarding the structure, including hardware, software and firmware, and
              function of the Accused Product(s) and components thereof. For the avoidance of doubt,
              such documents would include technical documents (e.g., specifications, architecture,
              algorithms, process diagrams, flowcharts, whole or exploded assemblies, circuit board
              layouts, etc.) regarding the Blood Oxygen feature, temperature sensor, and thermistor.
              Such documents would also include technical documents regarding the optical
              components (e.g., emitters, detectors, lenses, back crystal assembly, and related
              components like ink, coatings, and paint), including documents relating to cone angle,
              diffusion, diffusivity, diffusers, emission profile, beam shaping, and/or beam shape. Such
              documents are relevant to several issues in the ITC Case, including at least patent
              infringement. They are responsive to at least ITC RFP Nos. 32-41, 43-45, 47, and 228-
              239 as well as ITC Interrogatory Nos. 2, 4, 5, 55-57, 62. Based on the overlay Apple
              provided, Apple does not appear to have provided all documents in this category. See,


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                                                                                                                     Exhibit 28
                                                                                                                        Page 1
 Case 8:20-cv-00048-JVS-JDE Document 744-30 Filed 05/25/22 Page 3 of 4 Page ID
                                  #:52127
                                                                                                 Page 2




            e.g., APL-MAS_00029116, APL-MAS_00029123, APL-MAS_00082739, APL-
            MAS_00167551, APL-MAS_00167660, APL-MAS_00168252, APL-MAS_00168703,
            APL-MAS_00169158,     APL-MAS_00325492,    APL-MAS_00388289,  APL-
            MAS_00507078,     APL-MAS_00554220,     APL-MAS_00596876-884, APL-
            MAS_00733873, APL-MAS_01118195, APL-MAS_01219295, APL-MAS_01582248,
            and APL-MAS_01829103.
      2.    Documents regarding testing of the components described in Number 1 above, including
            specifications, test procedures, test results, and comparisons with products made by
            Masimo, Cercacor, or others. Such documents are relevant to several issues in the ITC
            Case, including at least patent infringement and secondary considerations of non-
            obviousness (e.g., copying). They are responsive to at least ITC RFP Nos. 26, 31, 37, 59,
            235, 237, and 239 as well as ITC Interrogatory Nos. 4, 16, 28, and 31. Based on the
            overlay Apple provided, Apple does not appear to have provided all documents in this
            category. See, e.g., APL-MAS_00169158, APL-MAS_01363863, APL-MAS_01435298.
      3.    Documents regarding any problems with the accuracy of SpO2 measurements of Series 6
            or Series 7. Such documents are relevant to several issues in the ITC Case, including at
            least injury to Masimo from Apple’s importation of products that do not accurately
            measure SpO2, which is relevant to the bond determination. They are responsive to at
            least ITC RFP Nos. 26, 30-39, 85, and 129-130 as well as ITC Interrogatory Nos. 2, 4,
            39, and 44. Based on the overlay Apple provided, Apple does not appear to have
            provided all documents in this category. See, e.g., APL-MAS_00160964, APL-
            MAS_00204219, APL-MAS_00212155, APL-MAS_00361993, APL-MAS_00538915,
            APL-MAS_00690233,         APL-MAS_00704812,            APL-MAS_01363863,          APL-
            MAS_01422590, and APL-MAS_01422593.
      4.    Apple’s communications with the FDA relating to the blood oxygen and/or pulse rate
            features of its Apple Watch products. Such documents are relevant to at least importation
            and infringement in the ITC Case. They are responsive to at least ITC RFP No. 107 and
            ITC Interrogatory No. 71. Based on the overlay Apple provided, Apple does not appear
            to have provided all documents in this category. See, e.g., APL-MAS_00084102, APL-
            MAS_00201073, APL-MAS_00355365, and APL-MAS_01815032.
      5.    Internal Apple communications regarding Masimo, its employees, its technology, and its
            patents. Such documents are relevant to several issues in the ITC Case, including at least
            secondary considerations of nonobviousness (e.g., copying, commercial success),
            rebutting Apple’s prosecution laches defense, and rebutting Apple’s argument that
            Masimo contrived its domestic industry. They are responsive to at least ITC RFP Nos.
            1-3, 5, 64, and 158-207 as well as ITC Interrogatory No. 26, 27, and 64. Based on the
            overlay Apple provided, Apple does not appear to have provided all documents in this
            category. See, e.g., APL-MAS_00223850, APL-MAS_00236499, APL-MAS_00239614,
            APL-MAS_00237757,          APL-MAS_00332212,            APL-MAS_00332234,           APL-
            MAS_00360015, APL-MAS_00359911, APL-MAS_00379949, APL-MAS_00416657,
            APL-MAS_00433706, APL-MAS_00433808, APL-MAS_00446711, and APL-
            MAS_00601199.


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                                                                                                   Exhibit 28
                                                                                                      Page 2
 Case 8:20-cv-00048-JVS-JDE Document 744-30 Filed 05/25/22 Page 4 of 4 Page ID
                                  #:52128
                                                                                                       Page 3




           6.   Documents about the locations where Apple conducts its engineering validation testing
                (“EVT”) for its Apple Watch products and the results of such testing. Such documents
                are relevant to several issues in the ITC Case, including at least the identity and features
                of infringing products Apple has or will import during the pendency of the ITC Case.
                They are responsive to at least ITC RFP Nos. 145-146, 149, and 155-156 as well as ITC
                Interrogatory Nos. 7, 65-68, and 86. Based on the overlay Apple provided, Apple does
                not appear to have provided all documents in this category. See, e.g., APL-
                MAS_00484905, APL-MAS_01321790.
       Please confirm Apple agrees to Masimo’s request for all of the above categories. If Apple
disagrees for any particular category, please provide your availability to meet and confer as soon as
possible. I am generally free on January 14, 17, or 18.
                                                          Best regards,


                                                          Adam B. Powell

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                                                                                                         Exhibit 28
                                                                                                            Page 3
